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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WISCONSIN

JOAN LOCH,                                             §       Civil Action No. 22-cv-213
Individually and on behalf                             §
of all others similarly situated                       §       JURY TRIAL DEMANDED
                                                       §
       Plaintiff,                                      §
                                                       §       COLLECTIVE ACTION
v.                                                     §       PURSUANT TO 29 U.S.C. §216(b)
                                                       §
AMERICAN FAMILY MUTUAL                                 §       CLASS ACTION PURSUANT TO
INSURANCE COMPANY, S.I.                                §       FED. R. CIV. P. 23
                                                       §
       Defendant.                                      §


                ORIGINAL COLLECTIVE/CLASS ACTION COMPLAINT

       Plaintiff Joan Loch brings this action individually and on behalf of all current and former

Personal Injury Protection Adjuster (“PIP”), Medical Pay Adjuster (“Med Pay”), and No-Fault

Insurance Adjusters (hereinafter “Plaintiff and the Putative Class Members”) who worked for

American Family Mutual Insurance Company, S.I. (“American Family” or “Defendant”), anywhere in

the United States, at any time during the relevant statutes of limitation through the final disposition

of this matter, to recover compensation, liquidated damages, and attorneys’ fees and costs pursuant

to the provisions of Sections 206, 207, and 216(b) of the Fair Labor Standards Act of 1938, as amended

29 U.S.C. § 216(b), the Minnesota Fair Labor Standards Act, MINN. STAT. ANN. § 177.25 et seq.

(“MFLSA”), and the Minnesota Payment of Wages Act, MINN. STAT. ANN. § 181.101 et seq.

(“MPWA”) (collectively the “Minnesota Wage Statutes”).

       Plaintiff’s FLSA claims are asserted as a collective action under Section 16(b) of the FLSA, 29

U.S.C. § 216(b), while the Minnesota state law claims are asserted as a class action under Federal Rule

of Civil Procedure 23. The following allegations are based on personal knowledge as to Plaintiff’s own

conduct and are made on information and belief as to the acts of others.
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                                                I.
                                             OVERVIEW

        1.      This is a collective action to recover overtime wages and liquidated damages brought

pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201–19 to recover unpaid overtime

wages and other applicable penalties.

        2.      Plaintiff and the Putative Class Members are those persons who work for American

Family as PIPs, Med Pays, and No-Fault Insurance Adjusters who assisted with the process of

receiving and processing PIP, Med Pay and/or No-Fault Insurance claims under American Family’s

insurance policies, anywhere in the United States, at any time during the relevant statutes of limitation,

through the final disposition of this matter, and have not been paid any overtime in violation of state

and federal law.

        3.      Although Plaintiff and the Putative Class Members routinely worked (and continue to

work) in excess of forty (40) hours per workweek, Plaintiff and the Putative Class Members were not

paid overtime of at least one and one-half their regular rates for all hours worked in excess of forty

(40) hours per workweek.

        4.      The decision by American Family not to pay overtime compensation to Plaintiff and

the Putative Class Members was neither reasonable nor in good faith.

        5.      During the relevant time period, American Family knowingly and deliberately failed to

compensate Plaintiff and the Putative Class Members overtime of at least one and one-half their

regular rates for all hours worked in excess of forty (40) hours per workweek on a routine and regular

basis during the relevant time periods.

        6.      Plaintiff and the Putative Class Members did not and currently do not perform work

that meets the definition of exempt work under the FLSA or Minnesota state law.

        7.      American Family knowingly and deliberately misclassified Plaintiff and the Putative

Class Members as exempt employees not entitled to overtime compensation.



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        8.        Plaintiff and the Putative Class Members seek to recover all unpaid overtime,

liquidated damages, and other damages owed under the FLSA as a collective action pursuant to 29

U.S.C. § 216(b) and to recover overtime wages and all other damages owed under the Minnesota Wage

Statutes as a class action pursuant to Federal Rule of Civil Procedure 23.

        9.        Plaintiff prays that all similarly situated workers (Putative Class Members) be notified

of the pendency of this action to apprise them of their rights and provide them an opportunity to opt-

in to this lawsuit.

        10.       Plaintiff also prays that the Rule 23 class is certified as defined herein, and that Plaintiff

Loch designated herein be named as the Class Representative for the Minnesota Class.

                                                   II.
                                              THE PARTIES

        11.       Plaintiff Joan Loch was employed by American Family in Eden Prairie, Minnesota

from 1993 to approximately September of 2020. Plaintiff Loch did not receive overtime compensation

for all hours worked in excess of forty (40) hours per workweek.1

        12.       The FLSA Collective Members are those persons who worked for American Family

as salaried PIPs, Med Pays, and No-Fault Insurance Adjusters, anywhere in the United States, and at

any time from April 7, 2019 through the final disposition of this matter, and have been subjected to

the same illegal pay system under which Plaintiff Loch worked and were paid.

        13.       Defendant American Family Mutual Insurance Company, S.I. is a domestic insurance

company, licensed to do business in the state of Wisconsin. American Family may be served via its

registered agent, Corporate Service Company at 8040 Excelsior Dr., Ste. 400, Madison, Wisconsin

53717-2915.

                                                III.
                                       JURISDICTION & VENUE


        1   The written consent of Joan Loch is attached hereto as Exhibit “A.”



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        14.     This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1331

as this is an action arising under 29 U.S.C. §§ 201–19.

        15.     This Court has personal jurisdiction over American Family because the cause of action

arose within this district as a result of American Family’s conduct within this District and Division.

        16.     Venue is proper in the Western District of Wisconsin because this is a judicial district

where a substantial part of the events or omissions giving rise to the claim occurred.

        17.     Specifically, American Family’s corporate headquarters are located in Madison,

Wisconsin which is located within this District and Division.

        18.     Venue is therefore proper in this Court pursuant to 28 U.S.C. § 1391(b).

                                              IV.
                                       ADDITIONAL FACTS

        19.     Defendant American Family provides vehicle, property, life, and commercial insurance

products to customers throughout the United States.

        20.     To provide its services, American Family employed (and continues to employ)

numerous adjusters—including Plaintiff and the individuals that make up the putative or potential

class. While exact job titles may differ, the employees who worked as PIP, Med Pay and No-Fault

Insurance Adjusters were subjected to the same or similar illegal pay practices for similar work

throughout the United States.

        21.     Plaintiff Loch has been employed by American Family since 1993. She adjusted PIP

and Med Pay claims for American Family for the last twelve (12) years of her employment with

American Family.

        22.     Plaintiff and the Putative Class Members are (or were) non-exempt employed by

American Family for the relevant time-period preceding the filing of this Complaint through the final

disposition of this matter.




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          23.   Importantly, none of the FLSA or state-law exemptions relieving a covered employer

(such as American Family) of the statutory duty to pay its employees overtime at one and one-half

times the regular rate of pay apply to Plaintiff or the Putative Class Members.

          24.   Moreover, Plaintiff and the Putative Class Members are similarly situated with respect

to their job duties, their pay structure and, as set forth below, the policies of American Family resulting

in the complained of FLSA and state law violations.

          25.   Plaintiff and the Putative Class Members were all paid a salary but no overtime.

          26.   Plaintiff and the Putative Class Members conduct their day-to-day activities within

designed parameters and in accordance with pre-determined operational plans devised by American

Family.

          27.   Specifically, Plaintiff and the Putative Class Members communicate with customers,

investigate alleged claims for which PIP, Med Pay, and/or No-Fault coverage is sought, obtain medical

bills regarding injuries alleged, monitor customer claim progress, and generally create and maintain

documentation of the PIP, Med Pay, and/or No-Fault insurance claim adjustment process.

          28.   Plaintiff and the Putative Class Members all perform the same primary duties

nationwide. They are uniformly trained by American Family and all abide by the same policies and

procedures regardless of their specific job title or location.

          29.   Plaintiff and the Putative Class Members complete their work within designed

parameters and in accordance with pre-determined plans created by American Family. Plaintiff and

the Putative Class Members are not permitted to deviate from these parameters or plans and do not

exercise discretion and independent judgment with respect to matters of significance.

          30.   Specifically, Plaintiff and the Putative Class Members must follow and apply American

Family’s well-established procedures for processing PIP, Med Pay, and No-Fault insurance claims.




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Furthermore, each decision by Plaintiff and the Putative Class Members related to processing

insurance claims must be reviewed and approved by supervisors before they become final.

        31.     Plaintiff and the Putative Class Members do not perform work that is directly related

to the management of general business operations of American Family. Instead, Plaintiff and the

Putative Class Members perform work directly related to the production side of American Family’s

business, that is they process PIP, Med Pay, and No-Fault claims made by American Family’s

customers.

        32.     Plaintiff and the Putative Class Members’ duties do not include managerial

responsibilities or the exercise of independent discretion or judgment.

        33.     Plaintiff and the Putative Class Members do not have the authority to hire or fire other

employees, and they are not responsible for making hiring or firing recommendations.

        34.     Plaintiff and the Putative Class Members are not responsible for setting schedules or

rates of pay.

        35.     Plaintiff and the Putative Class Members cannot deviate from American Family’s

requirements or instructions without permission.

        36.     Plaintiff and the Putative Class Members typically worked approximately fifty (50) to

sixty (60) hours per week.

        37.     The FLSA mandates that overtime be paid at one and one-half times an employee’s

regular rate of pay for all hours worked over forty (40) each week.

        38.     The Minnesota Wage Statutes mandate that overtime be paid at one and one-half times

an employee’s regular rate of pay for all hours worked over forty-eight (48) each week.

        39.     Plaintiff and the Putative Class Members regularly worked in excess of forty (40) hours

(and often times more than forty-eight (48) hours) per week but never received any overtime

compensation.




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        40.     American Family denied Plaintiff and the Putative Class Members overtime pay as a

result of a widely applicable, illegal pay practice.

        41.     Plaintiff and the Putative Class Members are non-exempt employees under the FLSA

and Minnesota Wage Statutes.

        42.     Although it is well-known that production-side workers like Plaintiff and the Putative

Class Members are not exempt from overtime, American Family did not pay Plaintiff and the Putative

Class Members the additional overtime premium required by the FLSA for hours worked in excess of

forty (40) in a workweek.

        43.     American Family applied this pay practice despite clear and controlling law that states

that the routine and manual labor duties which were performed by Plaintiff and the Putative Class

Members consisted of non-exempt work.

        44.     Because American Family did not pay Plaintiff and the Putative Class Members time

and a half for all hours worked in excess of forty (40) in a workweek, American Family’s pay policies

and practices violate the FLSA.

        45.     Because American Family did not pay Plaintiff and the Putative Class Members time

and a half for all hours worked in excess of forty-eight (48) in a workweek, American Family’s pay

policies and practices also violate the Minnesota Wage Statutes.

                                               V.
                                        CAUSES OF ACTION

                                           COUNT ONE
                            (Collective Action Alleging FLSA Violations)

A.      FLSA COVERAGE

        46.     Paragraphs 1–45 are fully incorporated herein.

        47.     The FLSA Collective is defined as:

        ALL CURRENT AND FORMER PERSONAL INJURY PROTECTION
        ADJUSTERS, MED PAY ADJUSTERS, AND NO-FAULT ADJUSTERS



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        WHO WORKED FOR AMERICAN FAMILY MUTUAL INSURANCE
        COMPANY ANYWHERE IN THE UNITED STATES, AT ANY TIME
        FROM APRIL 7, 2019 THROUGH THE FINAL DISPOSITION OF THIS
        MATTER (“FLSA Collective” or “FLSA Collective Members”).

        48.     At all times hereinafter mentioned, American Family has been an employer within the

meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

        49.     At all times hereinafter mentioned, American Family has been an enterprise within the

meaning of Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

        50.     At all times hereinafter mentioned, American Family has been an enterprise engaged

in commerce or in the production of goods for commerce within the meaning of Section 3(s)(1) of

the FLSA, 29 U.S.C. § 203(s)(1), in that said enterprise has had employees engaged in the operation

of a hospital and commerce or in the production of goods for commerce, or employees handling,

selling, or otherwise working on goods or materials that have been moved in or produced for

commerce by any person, or in any closely related process or occupation directly essential to the

production thereof, and in that that enterprise has had, and has, an annual gross volume of sales made

or business done of not less than $500,000.00 (exclusive of excise taxes at the retail level which are

separately stated).

        51.     Specifically, American Family operates numerous office sites across the country,

purchases materials through commerce, transports materials through commerce and on the interstate

highways, and conducts transactions through commerce, including the use of credit cards, phones

and/or cell phones, electronic mail and the Internet.

        52.     During the respective periods of Plaintiff and the FLSA Collective Members’

employment by American Family, these individuals provided services for American Family that

involved interstate commerce for purposes of the FLSA.

        53.     In performing the operations described above, Plaintiff and the FLSA Collective

Members were engaged in commerce or in the production of goods for commerce within the meaning



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of §§ 203(b), 203(i), 203(j), 206(a), and 207(a) of the FLSA. 29 U.S.C. §§ 203(b), 203(i), 203(j), 206(a),

207(a).

          54.   Specifically, Plaintiff and the FLSA Collective Members are (or were) non-exempt PIP

Adjusters, Med Pay Adjuster, and No-Fault Insurance Adjusters who assisted American Family’s

customers and employees throughout the United States. 29 U.S.C. § 203(j).

          55.   At all times hereinafter mentioned, Plaintiff and the FLSA Collective Members are (or

were) individual employees who were engaged in commerce or in the production of goods for

commerce as required by 29 U.S.C. §§ 206–07.

          56.   The proposed class of similarly situated employees, i.e. FLSA collective members,

sought to be certified pursuant to 29 U.S.C. § 216(b), is defined in Paragraph 47.

          57.   The precise size and identity of the proposed class should be ascertainable from the

business records, tax records, and/or employee and personnel records of American Family.

B.        FAILURE TO PAY WAGES AND OVERTIME UNDER THE FAIR LABOR
          STANDARDS ACT

          58.   American Family violated provisions of Sections 6, 7 and 15 of the FLSA, 29 U.S.C.

§§ 206, 207, and 215(a)(2) by employing individuals in an enterprise engaged in commerce or in the

production of goods for commerce within the meaning of the FLSA for workweeks longer than forty

(40) hours without compensating such non-exempt employees for all the hours they worked in excess

of forty (40) hours per week at rates at least one and one-half times the regular rates for which they

were employed.

          59.   Moreover, American Family knowingly, willfully, and with reckless disregard carried

out its illegal pattern of failing to pay Plaintiff and other similarly situated employees the proper

amount of overtime compensation for all hours worked over forty (40) each week. 29 U.S.C. § 255(a).

          60.   American Family is a sophisticated party and employer, and therefore knew (or should

have known) its pay policies were in violation of the FLSA.



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        61.       Plaintiff and the FLSA Collective Members, on the other hand, are (and were)

unsophisticated laborers who trusted American Family to pay them according to the law.

        62.       The decision and practice by American Family to not pay Plaintiff and the FLSA

Collective Members overtime for all hours worked over forty (40) each week was neither reasonable

nor in good faith.

        63.       Accordingly, Plaintiff and the FLSA Collective Members are entitled to be paid

overtime wages for all hours worked in excess of forty (40) hours per workweek pursuant to the FLSA

in an amount equal to one-and-a-half times their regular rate of pay, plus liquidated damages, attorneys’

fees and costs.

C.      COLLECTIVE ACTION ALLEGATIONS

        64.       All previous paragraphs are incorporated as though fully set forth herein.

        65.       Pursuant to 29 U.S.C. § 216(b), this is a collective action filed on behalf of American

Family’s employees who are (or were) similarly situated to Plaintiff with regard to the work they

performed and the manner in which they were paid.

        66.       Other similarly situated employees of American Family have been victimized by

American Family’s patterns, practices, and policies, which are in willful violation of the FLSA.

        67.       The FLSA Collective Members are defined in Paragraph 47.

        68.       American Family’s failure to pay Plaintiff and the FLSA Collective Members overtime

compensation at the rates required by the FLSA, results from generally applicable policies and

practices of American Family’s, and does not depend on the personal circumstances of Plaintiff or the

FLSA Collective Members.

        69.       Thus, Plaintiff’ experiences are typical of the experiences of the FLSA Collective

Members.




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        70.     The specific job titles or precise job requirements of the various FLSA Collective

Members does not prevent collective treatment.

        71.     All of the FLSA Collective Members—regardless of their specific job titles, precise job

requirements, rates of pay, or job locations—are entitled to be properly compensated their overtime

wages for all hours worked in excess of forty (40) each week.

        72.     Although the issues of damages may be individual in character, there is no detraction

from the common nucleus of liability facts.

        73.     Absent a collective action, many members of the proposed FLSA collective will not

likely obtain redress of their injuries and American Family will retain the proceeds of its violations.

        74.     Moreover, individual litigation would be unduly burdensome to the judicial system.

Concentrating the litigation in one forum will promote judicial economy and parity among the claims

of the individual members of the classes and provide for judicial consistency.

        75.     Accordingly, the FLSA collective of similarly situated Plaintiff should be certified as

defined as in Paragraph 47 and notice should be promptly sent.

                                       COUNT TWO
              (Class Action Alleging Violations of the Minnesota Wage Statutes)

A.      MINNESOTA COVERAGE

        76.     Paragraphs 1-75 are incorporated as though fully set forth herein.

        77.     The Minnesota Class is defined as:

        ALL CURRENT AND FORMER PERSONAL INJURY PROTECTION
        ADJUSTERS, MED PAY ADJUSTERS, AND NO-FAULT ADJUSTERS
        WHO WORKED FOR AMERICAN FAMILY MUTUAL INSURANCE
        COMPANY ANYWHERE IN THE STATE OF MINNESOTA, AT ANY
        TIME FROM APRIL 7, 2019 THROUGH THE FINAL DISPOSITION OF
        THIS MATTER (“Minnesota Class” or “Minnesota Class Members”).




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          78.   At all times hereinafter mentioned, American Family has been an employer within the

meaning of the Minnesota Wage Statute. See MINN. STAT. ANN. § 177.23; 177.24, and 181.171, subd.

4.

          79.   At all times hereinafter mentioned, the Plaintiff Loch and the Minnesota Class

Members have been employees within the meaning of the Minnesota Wage Statute. See MINN. STAT.

ANN. § 177.23; 177.24; and 181.171, subd. 4.


B.        FAILURE TO PAY WAGES IN ACCORDANCE WITH THE MINNESOTA WAGE
          STATUTES

          80.   All previous paragraphs are incorporated as though fully set forth herein.

          81.   The Minnesota Wage Statutes require employers to pay non-exempt employees 1.5

times the regular rate of pay for all hours worked over 48 in a workweek. See MINN. STAT. ANN. §

177.25.

          82.   American Family suffered and permitted Plaintiff and the proposed Minnesota Class

to work more than 48 hours in a workweek without proper overtime compensation as required by the

Minnesota Wage Statutes.

          83.   Monarch knew or showed reckless disregard for the fact that it failed to pay these

individuals overtime compensation, constituting a willful violation of the Minnesota Wage Statutes.

          84.   Monarch’s failure to comply with the Minnesota Wage Statutes overtime protections

caused Plaintiff and the proposed Minnesota Class to suffer loss of wages and interest thereon.

          85.   Plaintiff Loch and Minnesota Class Members have suffered damages and continue to

suffer damages as a result of American Family’s acts or omissions as described herein; though

American Family is in possession and control of necessary documents and information from which

Plaintiff Loch and the Minnesota Class Members would be able to precisely calculate damages.




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        86.      Plaintiff Loch, on behalf of themselves and the Minnesota Class Members, seek

recovery of their unpaid wages. See MINN. STAT. ANN. § 181.113(a); 181.114.

        87.      Plaintiff and the proposed Minnesota Class are entitled to unpaid overtime, liquidated

damages, and attorney’s fees and costs under the Minnesota Wage Statutes.

        88.      The proposed class of employees, i.e. putative class members sought to be certified

pursuant to the Minnesota Wage Statute, is defined in Paragraph 77.

        89.      The precise size and identity of the proposed class should be ascertainable from the

business records, tax records, and/or employee or personnel records of American Family.

C.      MINNESOTA WAGE STATUTES CLASS ALLEGATIONS

        90.      All previous paragraphs are incorporated as though fully set forth herein.

        91.      Plaintiff Loch brings her Minnesota Wage Statute claims as a class action pursuant to

Federal Rule of Civil Procedure 23 on behalf of all similarly situated individuals employed by American

Family who worked in Minnesota at any time since April 7, 2019.

        92.      Class action treatment of Plaintiff Loch’s Minnesota Wage Statutes claim is

appropriate because, as alleged below, all of Federal Rule of Civil Procedure 23’s class action requisites

are satisfied.

        93.      The number of Minnesota Class Members is so numerous that joinder of all class

members is impracticable.

        94.      Plaintiff Loch is a member of the Minnesota Class, her claims are typical of the claims

of other Minnesota Class Members, and she has no interests that are antagonistic to or in conflict with

the interests of other Minnesota Class Members.

        95.      Plaintiff Loch and her counsel will fairly and adequately represent the Minnesota Class

Members and their interests.




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        96.        Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual class

members and because a class action is superior to other available methods for the fair and efficient

adjudication of this litigation.

        97.        Accordingly, the Minnesota Class should be certified as defined in Paragraph 77.

                                                 VI.
                                           RELIEF SOUGHT

        98.        Plaintiff respectfully pray for judgment against American Family as follows:

                   a.     For an Order certifying the FLSA Collective as defined in Paragraph 47 and

requiring American Family to provide the names, addresses, e-mail addresses, telephone numbers, and

social security numbers of all putative collective action members;

                   b.     For an Order approving the form and content of a notice to be sent to the

FLSA Collective Members advising them of the pendency of this litigation and of their rights with

respect thereto;

                   c.     For an Order pursuant to Section 16(b) of the FLSA finding American Family

liable for unpaid back wages due to Plaintiff (and those FLSA Collective Members who have joined

in the suit), and for liquidated damages equal in amount to the unpaid compensation found due to

Plaintiff (and those FLSA Collective Members who have joined in the suit);

                   d.     For an Order certifying the Minnesota Class as defined in Paragraph 77 and

designating Plaintiff Loch as the Class Representative of the Minnesota Class.

                   e.     For an Order pursuant to the Minnesota Wage Statutes awarding the

Minnesota Class Members attorneys fees, liquidated damages, and all other damages allowed by law;

                   f.     For an Order awarding the costs of this action;

                   g.     For an Order awarding attorneys’ fees;




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                h.      For an Order awarding pre-judgment and post-judgment interest at the highest

rates allowed by law;

                i.      For an Order awarding Plaintiff a service award as permitted by law;

                j.      For an Order compelling the accounting of the books and records of American

Family, at American Family’s expense; and

                k.      For an Order granting such other and further relief as may be necessary and

appropriate.


Date: April 13, 2022                    Respectfully submitted,

                                               HAWKS QUINDEL S.C.
                                               Attorney for Plaintiffs

                                               /s/SUMMER H. MURSHID

                                               Summer H. Murshid
                                               SBN: 1075404
                                               Hawks Quindel S.C.
                                               5150 N. Port Washington Road, Ste 243
                                               Milwaukee WI, 53217
                                               Telephone: (414) 271-8650
                                               Facsimile: (414) 207-6079
                                               Email: smurshid@hq-law.com

                                               Local Counsel

                                      By: /s/ Clif Alexander
                                          Clif Alexander (application pro hac vice forthcoming)
                                          Texas Bar No. 24064805
                                          clif@a2xlaw.com
                                          Austin W. Anderson (application pro hac vice forthcoming)
                                          Texas Bar No. 24045189
                                          austin@a2xlaw.com
                                          ANDERSON ALEXANDER, PLLC
                                          819 N. Upper Broadway
                                          Corpus Christi, Texas 78401
                                          Telephone: (361) 452-1279
                                          Facsimile: (361) 452-1284




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